     Case 2:11-cv-00266-KJD-DJA Document 162 Filed 01/12/21 Page 1 of 1



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 8                               UNITED STATES DISTRICT COURT
 9                                       DISTRICT OF NEVADA
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11    RONALD LAWRENCE MORTENSEN,                        Case No. 2:11-cv-00266-KJD-DJA
12                       Petitioner,                    ORDER
13           v.
14    DWIGHT D. NEVEN, et al.,
15                       Respondents.
16
17          Petitioner having filed an unopposed motion for extension of time (eighth request) (ECF

18   No. 161), and good cause appearing;

19          IT THEREFORE IS ORDERED that petitioner's unopposed motion for extension of time

20   (eighth request) (ECF No. 161) is GRANTED. Petitioner will have up to and including April 12,

21   2021, to file a verified fourth amended petition for a writ of habeas corpus.

22          DATED:        January 12, 2020
                                      2021
23                                                                ______________________________
                                                                  KENT J. DAWSON
24                                                                United States District Judge
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